        Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER                   *
CORPORATION (AMTRAK)
                                              *       CIVIL ACTION NO. 1:22-CV-01043
       PLAINTIFF,
                                              *
v.
                                              *
SUBLEASE INTEREST OBTAINED PURSUANT
TO AN ASSIGNMENT AND ASSUMPTION     *
OF LEASEHOLD INTEREST, et al.
                                    *
      DEFENDANTS.
                                    *

*      *        *      *       *       *      *       *       *       *     *       *       *     *

            NATIONAL RAILROAD PASSENGER CORPORATION’S
              MEMORANDUM IN SUPPORT OF ITS MOTION FOR
        IMMEDIATE POSSESSION OF THE SUBJECT PROPERTY INTEREST

       Plaintiff National Railroad Passenger Corporation (“Amtrak”), by and through undersigned

counsel, hereby submits this Memorandum in Support of its Motion for Immediate Possession of

the Subject Property Interest, and in support thereof, states as follows:

           I.       INTRODUCTION

       Amtrak filed this condemnation proceeding to acquire a leasehold interest (the “Subject

Property Interest”) in property located at 50 Massachusetts Ave. NE, Washington, D.C. 20002,

known as Washington Union Station (“WUS” or “Station”). Once Amtrak filed its Declaration of

Taking and deposited $250 million with the Court, title to the Subject Property Interest vested in

Amtrak. 49 U.S.C. § 24311(b)(2). As condemnor, Amtrak then had the immediate right to possess

the Subject Property Interest. Amtrak now seeks to effectuate its right to possession. It has become

increasingly clear that an imminent transfer of possession is necessary given the present disputes

between the Defendants as to who may hire and fire property managers, collect rents, and
         Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 2 of 18




otherwise perform the myriad duties that come with possession of the Subject Property Interest.

Immediate possession would also allow Amtrak to move ahead expeditiously with critical projects

that are needed at the Station. See generally Complaint ¶¶ 31–52 (Dkt. No. 1). Accordingly,

Amtrak respectfully requests that the Court enter an order providing for the orderly transfer of

possession to Amtrak.

        The legal standard is clear. The Court must award possession to Amtrak unless “some

undue hardship to the present landowner or occupant might warrant some temporal gap between

the filing of the declaration of taking and the owners’ surrender of possession.” United States v.

74.57 Acres of Land, More or Less, No. Civ. A. 12-0239, 2012 WL 1231933, at *2 (S.D. Ala. Apr.

11, 2012) (emphasis added). As discussed below, courts have long applied this standard to the

transfer of possession in eminent domain proceedings under the Declaration of Taking Act

(“DTA”). And because the “quick-take” condemnation procedure set forth in Amtrak’s

condemnation statute mirrors the DTA, the rule for both is the same. Compare 40 U.S.C.

§ 3114(d), with 49 U.S.C. § 24311(b)(2)(A). As applied here, that rule warrants an immediate

transfer of possession, because the Defendants cannot demonstrate any undue hardship, much less

one sufficient to delay transfer of possession.

        Even if Amtrak were required to satisfy the traditional test for preliminary injunctions, the

result would be the same.1 Amtrak is likely to succeed on the merits of condemnation, and the

equities as well as public policy favor awarding possession to Amtrak. Acquiring the Subject

Property Interest is undoubtedly “necessary” under 49 U.S.C. § 24311(a)(1)(A) because the

acquisition has a significant connection to Amtrak’s goals in providing intercity passenger rail

transportation. And awarding possession to Amtrak benefits the public: Amtrak is the only party


1
  The undue hardship standard is the proper standard to apply here. The preliminary injunction standard only applies
in the absence of a quick-take procedure. See E. Tenn. Nat. Gas Co. v. Sage, 361 F.3d 808, 823–27 (4th Cir. 2004).

                                                         2
        Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 3 of 18




to this proceeding operating pursuant to a statutory mandate to serve the public interest. Because

title to the Subject Property Interest has already vested in Amtrak, it, more than any other party,

has the best interests of the Station in mind. Particularly where there is a battle for control between

and among the various Defendants, awarding possession to Amtrak is the best approach to ensure

stability both during the litigation of this matter and for the long term. Transferring possession

would also allow Amtrak to move ahead with long-delayed and critically-needed infrastructure

projects at the Station.

        For these reasons and those set forth below, this Court should determine that Amtrak is

entitled to immediate possession of the Subject Property Interest.

        II.     ARGUMENT

                A.         Amtrak Is Entitled to Immediate Possession Under 49 U.S.C.
                           § 24311(b)(2).

        Because Amtrak rarely initiates eminent domain actions, and because the transfer of

possession is often negotiated, scant law exists regarding possession under the applicable

condemnation statute, 49 U.S.C. § 24311(b)(2). The statute conferring Amtrak’s eminent domain

authority, however, mirrors the “quick-take” condemnation procedure granted to the United States

Government in 40 U.S.C. § 3114 et seq., the DTA. And courts have uniformly settled on a legal

standard to award possession under that analogous law: They do so immediately, absent “undue

hardship” to the defendant, which itself (if present) merely delays a transfer of possession for a

short period. See E. Tenn. Nat. Gas Co., 361 F.3d at 825; United States ex rel. Tenn. Valley Auth.

v. Temp. Right to Enter Upon Land in Meigs Cnty. Tennessee, 397 F. Supp. 3d 1111, 1114 (E.D.

Tenn. 2019) (hereinafter “Meigs Cnty.”); 74.57 Acres of Land, More or Less, 2012 WL 1231933,

at *2; United States v. 6,576.27 Acres of Land, More or Less, in McLean Cnty., N.D., 77 F. Supp.

244, 246 (D.N.D. 1948).

                                                  3
        Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 4 of 18




                       1. The DTA’s Undue Hardship Test Applies to Possession Under
                          Amtrak’s Condemnation Statute.

       The substantive requirements to initiate a condemnation action under the DTA and 49

U.S.C. § 24311(b) are the same: The condemning parties must file a Declaration of Taking

containing: (1) a statement of the public use for which the interest is taken; (2) a description of the

property sufficient to identify it; (3) a statement of the estate or interest in the property taken; (4)

a plan showing the land or interest taken; and (5) a statement of the amount of money estimated

by the acquiring authority to be just compensation for the land or interest taken. Compare 40

U.S.C. § 3114(a)(1)–(5), with 49 U.S.C. §24311(b)(1)(A)–(E).2

       Thereafter, upon filing the Declaration of Taking and depositing the estimated just

compensation amount into the court’s registry, the following events occur by operation of law

under both statutes: (1) title to the interest specified in the declaration vests in the condemning

body (49 U.S.C. § 24311(b)(2), 40 U.S.C. § 3114(b)(1)); (2) the land is condemned and taken for

the condemning body’s use (49 U.S.C. § 24311(b)(1), 40 U.S.C. § 3114(b)(2)); (3) the right to just

compensation for the land vests in the persons entitled to the compensation (49 U.S.C.

§ 24311(b)(1), 40 U.S.C. § 3114(b)(3)); and (4) the court is empowered to determine the time by

which, and the terms under which, possession is transferred (49 U.S.C. § 24311(b)(2)(A); 40

U.S.C. § 3114(d)).




2
  The DTA requires that, for land acquired outside the District of Columbia, the Declaration must
be “signed by the authority empowered by law to acquire the land described in the petition.” 40
U.S.C. § 3114(a). No similar requirement exists in Amtrak’s condemnation statute. See 49 U.S.C.
§ 24311(b)(1) (specifying the requisite contents of the Declaration, but not specifying by whom it
should be signed). The Declaration of Taking filed by Amtrak in this case meets all the statutory
requirements set forth in 49 U.S.C. § 24311(b)(1). While Defendants suggest otherwise, see
Kookmin Answer at 41 (Dkt No. 35), they cite only the DTA’s inapplicable signatory requirement.
                                                   4
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 5 of 18




       For the DTA, the Supreme Court has clarified that, upon the deposit of funds, “[t]itle and

right to possession thereupon vest immediately in [the condemning authority].” Kirby Forest

Indus., Inc. v. United States, 467 U.S. 1, 5 (1984) (emphasis added); United States v. Miller, 317

U.S. 369, 381 (1943) (noting that one of the primary purposes of the DTA was to provide a

procedure “to give the [condemning authority] immediate possession of the property” (emphasis

added)). This reading is consistent with the statutory text. In the DTA, Congress defined the courts’

role after a declaration of taking has been filed, specifying that courts may “fix the time within

which, and the terms on which, the parties in possession shall be required to surrender possession

to the petitioner.” 40 U.S.C. § 3114(d). Congress therefore did not provide courts with authority

to decide whether possession may be transferred, only when and how.

       The same is true of Amtrak’s condemnation statute. As with the DTA, Congress did not

provide courts with discretion to decide whether to award possession, but only to decide “the time

by which, and the terms under which, possession of the property is given to Amtrak.” 49 U.S.C.

§ 24311(b)(2)(A). It is a well-settled canon of statutory interpretation that the same language used

across statutes addressing related subject matters should be construed similarly. See, e.g., Tex.

Dep’t of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc., 576 U.S. 519, 530–37 (2015).

Indeed, the use of “the same language in two statutes having similar purposes” creates a

“presum[ption] that Congress intended that text to have the same meaning in both statutes.” Smith

v. City of Jackson, 544 U.S. 228, 233 (2005). That is especially true where Congress did not include

analogous quick-take language in all other eminent domain statutes, but specifically did so in

Amtrak’s statute. See E. Tenn. Nat. Gas Co., 361 F.3d at 822 (explaining that the Natural Gas Act

lacks quick-take provisions like those in the DTA). It necessarily follows that, upon compliance




                                                 5
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 6 of 18




with the filing and deposit requirements of 49 U.S.C. § 24311, title and the right to possession of

a condemned property vest in Amtrak prior to final judgment—just as they do under the DTA.

                      2. Under the Undue Hardship Test, Amtrak Is Entitled to Immediate
                         Possession.

       Under the undue hardship test, district courts have limited discretion over the transfer of

possession to the condemnor. Specifically, they may “examine the equities of the matter to

evaluate whether some undue hardship to the present landowner or occupant might warrant some

temporal gap between the filing of the declaration of taking and the owners’ surrender of

possession.” 74.57 Acres of Land, More or Less, 2012 WL 1231933, at *2 (emphasis added).

“Although the district court fixes the time and any terms of the possession, the government takes

possession of the condemned property as a matter of course, unless the landowner or occupant

demonstrates some undue hardship that warrants a delay.” E. Tennessee Nat. Gas Co., 361 F.3d at

825 (emphasis added); see also Meigs Cty. 397 F. Supp. 3d at 1114 (noting that § 3114(d) “affords

the Court some limited discretionary administrative power over how and precisely when the

Government may possess the property, [but] ultimate possession . . . is inevitable”).

       The type of hardship necessary for a court to delay an award of possession to a condemnor

was best described in United States v. 6,576.27 Acres of Land, More or Less, in McLean County,

North Dakota, 77 F. Supp. 244, 246 (D.N.D. 1948). There, the United States Government

condemned thousands of acres of farmland in connection with the construction of a dam on the

Missouri River. Id. at 244. The court issued an ex parte order providing that possession of the

property should be delivered to the Government within 30 days. Id. at 245. The day before the 30-

day period had run, the affected landowners moved the court to delay the Government’s

possession. Id. The court considered the “time and terms of possession” wording of the DTA under

the “facts and circumstances” of the case and found:

                                                6
        Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 7 of 18




        a possessory order . . . which provided that possession must be given to the
        Government . . . at the beginning of or during the seeding season, might very well
        work hardship and therefore injustice to the farm families who are currently
        residing upon and have been operating the lands in question and who have
        commenced or are about to commence their seeding operations. The order,
        according to the record, was served upon them only a matter of a few days prior to
        the date for possession. In the very nature of things, it would be difficult, if not
        impossible, for such farm families to move by the date fixed in the order, much less
        for them to acquire other farm lands so that they could make their livelihood during
        the year 1948.

Id. at 246. Accordingly, the court amended its prior order to permit the owners to reside upon and

operate the land already taken, just for the 1948 farming season, in exchange for rental payments.

Id. at 248.

        That sort of undue hardship is wholly absent in this case. Defendants do not have a seasonal

business akin to farming; they are real estate developers and banks. They are therefore much more

akin to the typical condemnee, who cannot forestall a transfer of possession but instead can seek

relief under 49 U.S.C. § 24311(b)(2)(B), which permits the court to decide in due course “the

disposition of outstanding charges related to the property.” Cf. Meigs Cnty., 397 F. Supp. 3d at

1115 (noting that the condemnee could not forestall a transfer of possession, but “[i]f and when

such a hardship should arise,” could “seek relief pursuant to 40 U.S.C.A. § 3114(d),” the analogous

provision of the DTA).

        Accordingly, this Court should determine that Amtrak is entitled to immediate possession

of the Subject Property Interest, with further proceedings to be held at a later date as to the

“disposition of outstanding charges related to the property.” 49 U.S.C. § 24311(b)(2)(B).

               B.      Amtrak Is Also Entitled to Possession Under the Preliminary
                       Injunction Standard.

        Amtrak’s position is that the traditional preliminary injunction standard does not apply,

but were it to be applied here, Amtrak is also entitled to possession under that standard. See Winter



                                                  7
        Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 8 of 18




v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Amtrak can establish “that four factors,

taken together, warrant relief: [(1)] likely success on the merits, [(2)] likely irreparable harm in

the absence of preliminary relief, [(3)] a balance of the equities in its favor, and [(4)] accord with

the public interest.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir.

2016) (quotation marks omitted).

                     1. Amtrak is Likely to Succeed on the Merits.

       For the reasons set forth above, Amtrak is likely to succeed in its entitlement to possession

under 49 U.S.C. § 24311(b)(2). Amtrak has established its entitlement to possession under that

statute, which is the statutory standard for possession. That is all Amtrak needs to show as to the

merits, given that the only “relief” sought in this motion is possession.

       That said, Amtrak is also likely to succeed on the ultimate condemnation action as well.

Defendants’ only objections and defenses to the merits of the condemnation action are those stated

in their answers. See Fed. R. Civ. P. 71.1(e)(3). Kookmin Bank’s Answer raises five primary

objections to Amtrak’s condemnation of the Subject Property Interest. See Kookmin Answer at

2–7 (Dkt. No. 35). Both USI Answers largely mirror the Bank’s objections. See USI-Bank Answer

(Dkt. No. 36); USI-nonBank Answer (Dkt. No. 38). Each of these five objections lacks merit.

       First, Defendants object that Amtrak did not engage in extended negotiations prior to filing

for condemnation, and thus condemnation is somehow improper. See Kookmin Answer at 5–6,

40; see also USI-Bank Answer at 16; USI-nonBank Answer at 5. This is wrong on the facts and

the law. On the facts, it is wrong because Amtrak did attempt to acquire the property before

bringing suit, but Defendants would not agree with Amtrak on the purchase price. Initially,

Amtrak invited USI to participate in the appraisal and on-site inspection of WUS on January 28,

2022, see Exhibit 1 to Declaration of Lindsay Harrison (“Harrison Declaration”), but USI refused



                                                  8
         Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 9 of 18




the invitation, see Exhibit 2 to Harrison Declaration. Amtrak then proceeded with the appraisal,

which was conducted by an independent appraiser. Following the appraisal, Amtrak conveyed an

offer to USI of $250 million dollars for the Subject Property Interest and emphasized that “[t]ime

is of the essence.” See Exhibit 3 to Harrison Declaration. USI did not accept the offer and made

no counter-offer. Even today, Defendants take issue with Amtrak’s valuation of the property,

proof that the parties could not agree on the purchase price. See Kookmin Answer at 5–6, 25; see

also USI-Bank Answer at 17; USI-nonBank Answer at 5. Thus, Defendants are wrong on the

facts.

         They are also wrong in arguing that the law requires any more than what Amtrak did here.

Congress did not set forth a pre-suit negotiation requirement of the type urged by the

Defendants—and including such a requirement now would be inconsistent with the plain text of

the statute. See United States v. 1.04 Acres of Land, More or Less, Situate in Cameron Cnty., Tex.,

538 F. Supp. 2d 995, 1008–09 (S.D. Tex. 2008) (declining to impose a negotiation requirement

where statute allowed for condemnation to proceed if condemnor was “unable for any reason to

obtain [an interest in land] by purchase,” language similar to that provided in Amtrak’s

condemnation statute (alteration in original) (quotation marks omitted)). Instead, Congress

provided for condemnation where Amtrak cannot “acquire the interest in the property by contract”

or “agree with the owner on the purchase price for the interest.” 49 U.S.C. § 24311(a)(2).

Defendants do not dispute that there was no agreement as to the purchase price—which is all

Amtrak needs to establish under 49 U.S.C. § 24311(a)(2)(B). Thus, this Court should conclude

that Amtrak is likely to prevail against Defendants’ objection concerning pre-suit negotiations.

         Second, Defendants object that the Secretary of Transportation did not request Amtrak to

use eminent domain powers so that the Secretary could “design and build an intermodal



                                                 9
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 10 of 18




transportation terminal” at the Station. See Kookmin Answer at 37; see also USI-nonBank Answer

at 16. Defendants argue that the only way Amtrak can condemn property at WUS is pursuant to

Section 24311(a)(1)(B), and because Amtrak did not act at the Secretary’s request here, the

condemnation action cannot proceed. This assertion misreads a clearly written statute. Section

24311(a)(1) allows Amtrak to use its eminent domain powers when “necessary for intercity rail

transportation” or when the Secretary makes a request related to WUS in connection with the

Secretary’s duty to build an “intermodal transportation terminal” at the Station. The use of the

disjunctive ‘or’ in subparts (A) or (B) allows Amtrak to act under either subsection. And while

subpart (A) does carve out certain exceptions where Amtrak’s authority is restricted—for property

of a rail carrier, a political subdivision of a State, or a government authority—it does not carve out

property at WUS. Accordingly, the only natural reading is not that subpart (A) applies everywhere

in the country except at WUS, but rather that subpart (B) creates a second and alternative basis for

an eminent domain action regarding the Station—namely where a property interest at WUS

devoted solely to intermodal transportation usage could be acquired by Amtrak even if not

necessary for intercity rail passenger transportation. Indeed, Judge Cooper has previously applied

subsection (A) to a taking of land in connection with WUS’s Master Plan. See Nat’l R.R. Passenger

Corp. (Amtrak) v. 3.44 Acres More or Less of Land & Bldg. located at 900 2nd Street NE,

Washington, DC 20002–3557, 266 F. Supp. 3d 63, 65–66 (D.D.C. 2017) (hereinafter “900 2nd

Street NE”) (approving Amtrak’s condemnation of property intended to rehabilitate and expand

WUS under § 24311(a)(1)’s “intercity rail passenger transportation” provision (quotation marks

omitted)).

       Third, the Defendants object to the amount of compensation. See Kookmin Answer at 25;

see also USI-Bank Answer at 17; USI-nonBank Answer at 5. But the amount of compensation is



                                                 10
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 11 of 18




not relevant to Amtrak’s likelihood of success on the taking. Federal courts widely recognize that

the just compensation deposit is merely an estimate of the value of the property interest at issue,

and a disagreement regarding that estimate (which is certain to be present in every condemnation

action) cannot be used as a basis to deny the condemning authority immediate possession. Nat’l

R.R. Passenger Corp. v. Penn Cent. Corp., No. 89 C 1631, 1989 WL 51406, at *2 (N.D. Ill. May

11, 1989) (“Deposit of inadequate compensation is not ordinarily a basis for delaying

condemnation.”). Furthermore, like the DTA, the Amtrak condemnation statute provides that if

the deposit ultimately proves to be less than the actual value, then the condemnee is to be paid

additional compensation with interest for the difference between the amount deposited and the

actual value. See 49 U.S.C. §§ 24311(b)(3) & (4); see also United States v. 53 1/4 Acres of Land,

More or Less in Borough of Brooklyn, 176 F.2d 255, 258 (2d Cir. 1949) (explaining that while the

purpose of the deposit “is to give the government possession at once and to give the owner

immediate payment either in full or to the extent of the estimated value deposited,” the DTA also

provides for additional payments with interest if the deposit turns out to be less than the actual

value). A dispute over the amount of compensation therefore has no bearing on Amtrak’s

likelihood of success.

       Fourth, the Defendants object that Amtrak could make do with a lesser interest in order to

accomplish its goals, and thus the Subject Property Interest is not really “necessary.” See Kookmin

Answer at 25; see also USI-Bank Answer at 16; USI-nonBank Answer at 3. This objection gets

the standard wrong. To qualify as “necessary” under Section 24311(a)(1)(A), Amtrak need only

show that the Subject Property Interest has “a ‘significant relationship’ with Amtrak’s provision

of intercity rail passenger transportation.” 900 2nd Street NE, 266 F. Supp. 3d at 69. In the 900

2nd Street NE case, which dealt with a condemnation adjacent to WUS, Judge Cooper explained



                                                11
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 12 of 18




that the “relevant question” was whether the taking has “some direct nexus to Amtrak’s goals.” Id.

This standard requires a showing more stringent than mere “usefulness” but “more lenient than

absolute, last-resort need”—in other words, there is no requirement that Amtrak establish that the

property is “indispensable.” Id. at 69–70 (internal quotation marks omitted). Nor is there a

requirement that Amtrak condemn property in the least burdensome way. See id. at 73 (rejecting

argument that taking was not necessary because Amtrak could have negotiated for a lease or

easement instead). “The upshot is that Amtrak may condemn property only if it has a significant

connection to its goal of providing intercity passenger rail transportation.” Id. at 72. If the property

has such a connection, the taking is “necessary” and the court “is not in a position to assess”

whether a lesser property interest would be sufficient to accomplish Amtrak’s goals. Id. at 73.

        Here, Amtrak is likely to succeed in demonstrating that the Subject Property Interest has a

significant relationship to Amtrak’s goals.3 To pick an example that is a matter of public record,

the Subbasement Project is one of the reasons Amtrak seeks to acquire the Subject Property

Interest. That Project is needed to preserve the structural integrity of the Station. See Complaint

¶¶ 32–39. It has an obvious and direct nexus to numerous of Amtrak’s goals. And possession of

the Subject Property Interest will allow Amtrak to move forward with the Project. This and other


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        Amtrak’s statutory goals are numerous. See Complaint ¶ 57. “Public convenience and
necessity require that Amtrak, to the extent its budget allows, provide modern cost-efficient, and
energy-efficient intercity rail passenger transportation throughout the United States.” 49 U.S.C.
§ 24101(a)(1). In doing so, Amtrak must “use its best business judgment” to “maximize the Federal
investments” including, “controlling or reducing …operating costs” and “providing economic
benefits to the communities it serves.” 49 U.S.C. § 24101(c)(1)(E) & (F). Further, Amtrak is
statutorily commanded to “carry out strategies to achieve immediately maximum productivity and
efficiency,” to “improve generally the performance of Amtrak,” and to “coordinate the uses of the
Northeast Corridor, particularly intercity and commuter rail passenger transportation.” See 49
U.S.C. § 24101(c)(3), (8) & (11). As the statutory language makes clear, Amtrak must exercise
business judgment as to these duties, including how to “maximize the use of its resources,
including... real property.” 49 U.S.C. § 24101(c)(12). Amtrak must also act to “minimize
Government subsidies.” 49 U.S.C. § 24101(c)(2).

                                                  12
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 13 of 18




reasons for the taking are discussed infra in the section dealing with irreparable harm. They reflect

that the Subject Property Interest has a “significant connection” to Amtrak’s goals in providing

intercity passenger rail transportation.

       For these reasons, the Court may also reject Defendants’ objection that Amtrak has

economic motives to condemn the Subject Property Interest. See Kookmin Answer at 25; see also

USI-Bank Answer at 16; USI-nonBank Answer at 3.4 In 900 2nd Street NE, Judge Cooper rejected

the condemnee’s similar claim that Amtrak had “ulterior motives” and thus the taking should be

considered invalid. There, as here, the condemnee argued that Amtrak’s goal was to benefit

financially from the condemnation action. But, as Judge Cooper explained, even if Amtrak had

many motivations, including economic ones, the relevant property also had a clear nexus with

Amtrak’s transportation-related goals. And “the mere consideration of economic factors cannot

defeat an otherwise valid taking.” Id. at 73.

       Finally, Defendants object that if the Subject Property Interest was necessary, Amtrak

should have acted sooner. See Kookmin Answer at 32–33. As Amtrak understands it, Defendants

argue that since Amtrak did not previously use its authority to acquire the Subject Property

Interest, it cannot do so now because the property must not truly be necessary. This estoppel-like

argument is completely atextual, and Amtrak knows of no case law that would support it. In fact,

49 U.S.C. § 24311(a)(l) expressly contemplates that Amtrak can make decisions about the timing

of a taking by considering both its needs and resources. Moreover, in 900 2nd Street NE, Judge

Cooper expressly rejected the argument that Amtrak’s condemnation of an office building, in




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        Defendants suggest that Amtrak should not have been allowed to pursue condemnation
because the COVID-19 pandemic temporarily depressed certain retail business, and thus property
valuations. Defendants can point to no authority that would support any such limitation on
Amtrak’s statutory authority.
                                                 13
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 14 of 18




which it had long been a tenant, was invalid because alternatives to condemnation were

purportedly not sufficiently explored. 266 F. Supp. 3d at 73. Consequently, Amtrak not having

previously sought to condemn the Subject Property Interest cannot restrict Amtrak’s ability to do

so today.

       Accordingly, Amtrak is likely to succeed in its condemnation action.

                    2. Absence of Possession Risks Irreparable Harm, and the Balance of
                       Equities and Public Interest Favors Awarding Possession to Amtrak.

       Amtrak initiated this condemnation action to facilitate necessary repair and improvement

work at the Station and effectively manage the operations of the Station now and in the future. See

generally Complaint ¶¶ 31–52. In their Answers, the various Defendants do not appear to contest—

nor could they—that Amtrak wants to complete the Subbasement Project and the Concourse

Modernization Project set forth in the Complaint as necessary improvements. While Defendants

argue that Amtrak does not “need” ownership of the Subject Property Interest to complete these

projects, they do not argue that these projects are undesirable ones that Amtrak should not

undertake. Indeed, the Northeast Corridor Commission, authorized by Congress in the Passenger

Rail Investment and Improvement Act of 2008, has stressed the critical nature of the Subbasement

Project:

       The Subbasement Reconstruction project will replace the bridging structure at the
       north portal of the First Street Tunnel spans rail tracks over a back of house station
       area (known as the Subbasement). The structure is in a state of disrepair and
       requires replacement. The critical SOGR Project will replace the structurally
       deficient beams, girders and columns with a new structural support system. The
       track slab will be replaced and railroad infrastructure will be replaced in kind.

(emphasis added).5 “Collapse of the [s]ubbasement would have significant impacts to not only the



5
       Northeast Corridor Commission, Washington Union Station: Subbasement Program (last
updated Oct. 2021), http://nec-commission.com/project/wus-subbasement/ (last updated Oct.
2021).
                                                14
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 15 of 18




NEC but the entire eastern rail network.”6 Moreover, the effects of delayed improvements and

repairs are irreparable in the sense that congestion and safety problems cannot be compensated

financially. See Nw. Pipeline Corp. v. The 20’ x 1,430’ Pipeline Right of Way Easement x 1560’

Temp. Staging Area, 197 F. Supp. 2d 1241, 1246 (E.D. Wash. 2002) (finding similar harms to be

irreparable). There should be no further delay in these important projects.

       Further, the disputes between the Defendants are many. Two different law firms purport to

represent USI in this case. At one point, the Bank threatened to terminate the Station’s manager,

which forced Amtrak to seek emergency relief, which then prompted the Bank to withdraw that

termination threat. Within weeks, the Bank has filed a new motion seeking to change the status

quo at the Station by either entering a new management agreement with the existing manager or

contracting with a new one, and the Defendants continue to escalate allegations in briefing on this

request. All of these developments demonstrate instability risk in the Station’s operations. Yet

there is more. Most recently, on July 1, 2022, Kookmin Bank Co., Ltd. filed suit against Defendant

Ben Ashkenazy in the New York Supreme Court alleging breach of the loan documents and

seeking recourse against Ashkenazy under a guaranty. See Exhibit 4 to Harrison Declaration. This

new complaint seeks a determination as to who, among the Defendants, have rights in the Subject

Property Interest—seemingly the same issue those parties have asked this Court to consider. See

id. ¶¶ 25, 33–53, 64.

       If the Court does not grant Amtrak possession, there will be continued instability at the

Station, presenting operational and safety risks both small and large. The more mundane risks

include tenants not knowing who to call for internal or external maintenance issues such as trash

handling, wet floor signs/maintenance, repairs, escalator and elevator service, lightbulb



6
       Id.
                                                15
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 16 of 18




replacements, standard plumbing, HVAC, sidewalk and lawn care, or other issues with fixtures or

equipment. The very serious risks include misunderstanding who is responsible in emergency

situations such as security breaches, in the handling of life and safety requirements, water pipe

bursts, electrical wiring malfunctions, gas leaks, power outages, or major structural damage to the

property. This instability makes the Station vulnerable to serious public harm. See Handera

Declaration ¶ 10 (Dkt. No. 41-3). And that is all in addition to the ways this instability will continue

to delay and disrupt the important train-related work projects described in Amtrak’s Complaint.

See Complaint ¶¶ 31–52. These issues do not simply affect Amtrak—they pose serious risks and

challenges to the thousands of members of the public who traverse and rely on Union Station.

Accodringly, these rationales for transferring possession speak both to the balance of harms and

to the public interest.

        Meanwhile, awarding possession to Amtrak poses little risk of harm. Maintaining stability

and moving forward with critical infrastructure projects at the Station is in Amtrak’s interest more

than it is any other party in this case because title in the Subject Property Interest has already vested

in Amtrak. Furthermore, Amtrak knows the Station well, having operated passenger rail service at

the Station since Amtrak’s began operations in 1971. And unlike every other party, Amtrak

operates pursuant to a statutory mandate to act in the public interest. See generally 49 U.S.C.

§ 24101. Any harm Defendants might experience is purely pecuniary, while awarding Amtrak

possession avoids potentially irreparable harm from an unstable management situation during the

pendency of this case. Finally, if the Court awards possession to Amtrak and later decides that the

taking is somehow invalid, Defendants have protection: Amtrak has already deposited $250

million dollars with the Court, which in the unlikely event that possession needs to be reversed,

can be used to reimburse the Defendants for any damages



                                                   16
       Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 17 of 18




       Accordingly, the balance and public interest clearly favor awarding possession to Amtrak.

Neither Amtrak nor the public should have to bear the obvious costs and concerns that delay in

granting possession will cause.

       III.    CONCLUSION

       This Court should determine that Amtrak has the right to immediate possession and that

immediate possession of the Subject Property Interest should be granted to Amtrak, with further

proceedings to be held as to the “disposition of outstanding charges related to the property,” 49

U.S.C. § 24311(b)(2)(B), including as to the rent proceeds that were collected after title transferred

to Amtrak, and as to any outstanding issues related to Amtrak’s authority to take the Subject

Property Interest and the amount of just compensation.

                                               Respectfully submitted,


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                                                 17
Case 1:22-cv-01043-APM Document 72-1 Filed 07/08/22 Page 18 of 18




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                               18
